                                                                            027,21'(1,('



                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                                    At Nashville


 UNITED STATES OF AMERICA                   )
                                            )
 vs.                                        )       No. 3:13-00097-20
                                            )       Judge Sharp
 THOMAS ROBERTS                             )


                   MOTION TO CONTINUE SHOW CAUSE HEARING


         COMES NOW the defendant through counsel and requests the Court continue the Show

Cause hearing currently set for Tuesday, September 23, 2014. The basis for this request is that

the show cause hearing be scheduled on the same date as the defendant’s sentencing hearing.

Counsel for the government, and the United States Probation Office have no objections to this

request. The defendant, therefore, requests that this matter be reset for Friday, November 7,

2014 @ 2:30 p.m.

                                           Respectfully submitted,

                                            /s/ James E. Mackler
                                           James E. Mackler (BPR #024855)
                                           BONE MCALLESTER NORTON
                                           511 Union Street, Suite 1600
                                           Nashville, TN 37219
                                           (615) 238-6312 (phone)
                                           (615) 248-4668 (facsimile)
                                           Email: jmackler@bonelaw.com




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